














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD 1790-07; 1791-07 &amp; 1792-07





	ROBERT L. BEAN, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S  PETITION FOR DISCRETIONARY REVIEW


FROM THE FIFTH COURT OF APPEALS


KAUFMAN COUNTY


		



	Per curiam.  Keasler and Hervey, JJ., dissent. 


ORDER


	The petition for discretionary review violates Rule of Appellate Procedure 9.3(b),
because the original petition is not accompanied by eleven (11) copies.  

	The petition for discretionary review also violates Rule of Appellate Procedure 68.5,
because the petition is longer than fifteen (15) pages.	

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition must be filed in the
Court of Criminal Appeals of Texas  within thirty (30) days after the date of this order.

En banc.


Delivered:   March 5, 2008.

Do Not Publish.


